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                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF PUERTO RICO



UNITED STATES OF AMERICA,
                                                      CRIMINAL NO. 07-156 (ADC/BJM)
       Plaintiff
       v.
CARLOS SEÑERIZ ORTIZ,
       Defendant.



             MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION
                  RE: RULE 11(c)(1)(C) GUILTY PLEA HEARING

I.     Procedural Background
       On April 11, 2007, defendant Carlos Señeriz Ortiz was charged in a two-count indictment.
He agrees to plead guilty to Count One.
       Count One charges that Mr. Señeriz, from on or about 2000, up to the date of the return of
the indictment, together with diverse other persons, did knowingly, intentionally and unlawfully
conspire to possess with intent to distribute, fifty grams or more of a substance containing a
detectable amount of cocaine base, within 1000 feet of real property comprising a housing facility
owned by a public housing authority, in violation of Title 21, United States Code, Sections 841(a)(1),
846, and 860.
       Defendant appeared before me, assisted by the court interpreter, on October 11, 2007, since
the Rule 11 hearing was referred by the court. See United States v. Woodard, 387 F.3d 1329 (11th
Cir. 2004) (magistrate judge had authority to conduct Rule 11 guilty plea hearing with consent of
defendant). He was advised of the purpose of the hearing and placed under oath with instructions
that his answers must be truthful lest he would subject himself to possible charges of perjury or
making a false statement.
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II.      Consent to Proceed Before a Magistrate Judge
         Defendant was provided with a Waiver of Right to Trial by Jury form, which he signed. 1
Although the defendant does not read English, he confirmed that his attorney translated and
explained the form before he signed it. He was advised of his right to hold all proceedings, including
the change of plea hearing, before a district court judge. He received an explanation of the
differences between the scope of jurisdiction and functions of a district judge and a magistrate judge.
He was informed that if he elects to proceed before a magistrate judge, then the magistrate judge will
conduct the hearing and prepare a report and recommendation, subject to review and approval of the
district judge. The defendant then voluntarily consented to proceed before a magistrate judge.
III.     Proceedings Under Rule 11 of the Federal Rules of Criminal Procedure
         Rule 11 of the Federal Rules of Criminal Procedure governs the acceptance of guilty pleas
to federal criminal violations. Pursuant to Rule 11, in order for a plea of guilty to constitute a valid
waiver of the defendant’s right to trial, the guilty plea must be knowing and voluntary. United States
v. Hernández-Wilson, 186 F.3d 1, 5 (1st Cir. 1999). “Rule 11 was intended to ensure that a defendant
who pleads guilty does so with an ‘understanding of the nature of the charge and consequences of
his plea.’” United States v. Cotal-Crespo, 47 F3d 1, 4 (1st Cir. 1995) (quoting McCarthy v. United
States, 394 U.S. 459, 467 (1969)). There are three core concerns in a Rule 11 proceeding: 1) absence
of coercion; 2) understanding of the charges; and 3) knowledge of the consequences of the guilty
plea. Cotal-Crespo, 47 F3d at 4 (citing United States v. Allard, 926 F2d 1237, 1244 (1st Cir. 1991)).
         A.       Competence to Enter a Guilty Plea
         This magistrate judge questioned the defendant about his age, education, employment, history
of any treatment for mental illness or addiction, use of any medication, drugs, or alcohol, and his
understanding of the purpose of the hearing, all in order to ascertain his capacity to understand,


         1
            The form entitled Consent to Proceed Before a United States Magistrate Judge in a Felony Case for Pleading
Guilty (Rule 11, Fed.R.Crim.P.) and Waiver of Jury Trial, signed and consented by both parties is made part of the record.
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answer and comprehend the change of plea colloquy. The court confirmed that the defendant
received the indictment and fully discussed the charge with his counsel, and was satisfied with the
advice and representation he received. The court further inquired whether defendant’s counsel or
counsel for the government had any doubt as to his capacity to plead, receiving answers from both
that the defendant was competent to enter a plea. After considering the defendant’s responses, and
observing his demeanor, a finding was made that Mr. Seneriz was competent to plead and fully
aware of the purpose of the hearing.
        B.      Maximum Penalties
        Upon questioning, the defendant expressed his understanding of the maximum penalties
prescribed by statute for the offense to which he was pleading guilty. In particular, defendant was
advised that the maximum penalties for the charged offense under 21 U.S.C. §841 are a term of
imprisonment of not less than ten years up to a maximum of life, a fine of not more than
$4,000,000.00, and a term of supervised release of not less than five years. However, defendant was
further informed that since his is also charged under 21 U.S.C. §860, those maximum terms are
doubled. The parties then informed that under the plea agreement the defendant is not admitting to
any facts that give rise to criminal liability under 21 U.S.C. §860, and that the applicable maximum
penalties for the offense to which he is pleading guilty are those corresponding to 21 U.S.C. §841.
A Special Monetary Assessment of $100.00 will also be imposed, to be deposited in the Crime
Victim Fund, pursuant to Title 18, United States Code, §3013(a). The court explained the nature of
supervised release and the consequences of revocation. The defendant indicated that he understood
the maximum penalties for Count One and the potential consequences of the guilty plea.
        C.      Plea Agreement
        Mr. Señeriz was shown the document titled “Plea Agreement”, which is part of the record,
and identified his initials on every page and his signature on pages eight, nine and ten. He confirmed
that he had the opportunity to read and discuss the Plea Agreement with his attorney before he signed
it, that it represented the entirety of his understanding with the government, that he understood its
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terms, and that no one had made any other or different promises or assurances to induce him to plead
guilty. Although the defendant does not read English, he confirmed that his attorney translated the
Plea Agreement into the Spanish language.       The defendant was then admonished, pursuant to Fed.
R. Crim. P. 11(c)(1)(C), and expressed his understanding, that the district judge can either accept the
Plea Agreement, and impose the sentence recommended by the parties, or reject it, in which case the
defendant will have the opportunity to withdraw his guilty plea and go to trial, or persist in his guilty
plea, in which case the judge may then impose a sentence greater than the defendant might anticipate.
        The parties’ sentencing calculations and recommendations appear in the Plea Agreement, and
were explained in open court. As to Count One, the agreed upon Base Offense Level (“BOL”) is 34
pursuant to U.S.S.G. §2D1.1(c)(5), 4B1.1(a) and (b)(B); a three-level downard adjustment for
acceptance of responsibility was agreed upon pursuant to U.S.S.G. §3E1.1(a). Based on these
Guideline sentencing factors, the agreed Total Offense Level is 31 with a guideline range of 188 to
235 months imprisonment, assuming a Criminal History Category of VI. The parties stipulate that
the defendant is a career offender. The parties recommend a sentence of 144 months. The defendant
confirmed that these were the sentencing recommendations he agreed to with the government.
        The defendant was specifically informed that the Court would decide whether or not to accept
the Plea Agreement after considering the applicable Sentencing Guidelines. The defendant was
advised, and understood, that the Sentencing Guidelines are no longer mandatory and are thus
considered advisory, and that during sentencing the court will consider the sentencing criteria found
at Title 18, United States Code, Section 3553(a).
        The defendant was advised that under some circumstances he or the government may have
the right to appeal the sentence the court imposes. The defendant was further informed, and
professed to understand, that the Plea Agreement contains a waiver of appeal provision under which
the defendant agreed to waive his right to appeal the judgement and sentence if the court accepts the
Plea Agreement and sentences him according to its terms and conditions.
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        D.      Waiver of Constitutional Rights
        The defendant was specifically advised that he has the right to persist in a plea of not guilty,
and if he does so persist that he has the right to a speedy and public trial by jury, or before a judge
sitting without a jury if the court and the government so agree; that at trial he would be presumed
innocent and the government would have to prove his guilt beyond a reasonable doubt; that he would
have the right to assistance of counsel for his defense, and if he could not afford an attorney the court
would appoint one to represent him throughout all stages of the proceedings; that at trial he would
have the right to hear and cross examine the government’s witnesses, the right to decline to testify
unless he voluntarily elected to do so, and the right to the issuance of subpoenas or compulsory
process to compel the attendance of witnesses to testify on his behalf. He was further informed that
if he decided not to testify or put on evidence at trial, his failure to do so could not be used against
him, and that at trial the jury must return a unanimous verdict before he could be found guilty.
        The defendant specifically acknowledged understanding these rights, and understanding that
by entering a plea of guilty there would be no trial and he will be waiving or giving up the rights that
the court explained.
        The defendant was informed that parole has been abolished and that any sentence of
imprisonment must be served. Defendant was additionally informed that a pre-sentence report would
be prepared and considered by the district judge at sentencing, and that the defense and the
government would be allowed to correct or object to any information contained in the report which
was not accurate. Defendant was further admonished that his guilty plea, if accepted, may deprive him
of valuable civil rights, such as the right to vote, to hold public office, to serve on a jury, and to possess

a firearm. The defendant confirmed that he understood these consequences of his guilty plea.

        E.      Factual Basis for the Guilty Plea
        Defendant was read in open court Count One of the indictment and provided an explanation
of the elements of the offense. The meaning of terms used in the indictment was explained.
        Upon questioning, the government presented to this magistrate judge and to defendant a
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summary of the basis in fact for the offense charged in Count One and the evidence the government
had available to establish, in the event defendant elected to go to trial, the defendant’s guilt beyond
a reasonable doubt. The defendant was able to understand this explanation and agreed with the
government’s submission as to the evidence which could have been presented at trial.
        F.      Voluntariness
        The defendant indicated that he was not being induced to plead guilty, but was entering such
a plea freely and voluntarily because in fact he is guilty, and that no one had threatened him or
offered him a thing of value in exchange for his plea. He acknowledged that no one had made any
different or other promises in exchange for his guilty plea, other than the recommendations set forth
in the plea agreement. Throughout the hearing the defendant was able to consult with his attorney.
V.      Conclusion
        The defendant, by consent, appeared before me pursuant to Rule 11 of the Federal Rules of
Criminal Procedure, and entered a plea of guilty as to Count One of the indictment.
        After cautioning and examining the defendant under oath and in open court concerning each
of the subject matters mentioned in Rule 11, I find that the defendant, Carlos Seneriz Ortiz, is
competent to enter this guilty plea, is aware of the nature of the offense charged and the maximum
statutory penalties, understands that the charge is supported by evidence and a basis in fact, has
admitted to the elements of the offense, and has done so in an intelligent and voluntary manner with
full knowledge of the consequences of his guilty plea. Therefore, I recommend that the court accept
the guilty plea and that the defendant be adjudged guilty as to Count One of the indictment.
        This report and recommendation is filed pursuant to 28 U.S.C. §636(b)(1)(B) and Rule 72(d)
of the Local Rules of this Court. Any objections to the same must be specific and must be filed with
the Clerk of Court within ten (10) days of its receipt. Failure to file timely and specific objections
to the report and recommendation is a waiver of the right to review by the district court. United
States v. Valencia-Copete, 792 F.2d 4 (1st Cir. 1986).
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        A sentencing hearing will be set by the presiding district judge.
        IT IS SO RECOMMENDED.
        San Juan, Puerto Rico, this 11th day of October, 2007.


                                             S/Bruce J. McGiverin
                                             BRUCE J. McGIVERIN
                                             United States Magistrate Judge
